EXHIBIT 36
5/18/2020                                                     Mail - Lampe, Stephen (KC) (FBI) - Outlook



       FW: Re:RE: Response
       Carlson, Jeffery H. (KC) (FBI) <             Redacted
       Mon 12/30/2019 13:24
       To: Lampe, Stephen (KC) (FBI)           Redacted


       From: Redacted [Government Informant]
       Sent: Wednesday, July 10, 2019 3:29 PM
       To: Carlson, Jeﬀery H. (KC) (FBI) Redacted
       Subject: Re:RE: Response


       Dear Jeff,
       Thank you very much for your reply.
       I will not discuss it with others, but can we stop the checking to Franklin? I will accept the penalty for my
       wrongdoings.
       I planned to go back to Australia and China at the end of this July. I will renew my J1 visa and be back to US
       several months later.
       Thank you very much.
       Best regards
       Redacted [Government Informant]




       At 2019-07-11 04:05:27, "Carlson, Jeffery H. (KC) (FBI)" <                 Redacted           > wrote:

             Redacted [Government Informant]




             Thank you for your email. I am glad that we were able to speak directly with each other yesterday. I will be in
             contact again with you soon. And as we talked about yesterday, please do not discuss this ma er with anyone
             else.

             Thank you again – Jeﬀ

             From: Redacted [Government Informant]
             Sent: Tuesday, July 09, 2019 4:03 PM
             To: Carlson, Jeﬀery H. (KC) (FBI) < Redacted            >
             Subject: Response

             Dear Carlson,

             Nice to meet you today. I am sorry for taking your time on this issue.

             For the talk today, I have to admit that I lied in some of the items.

             (1) I do not know whether there are other person reporting this issue or not, I reported it using the name of
                             Redacted [X.Z.]
             others, such as                , Redacted [L.N.] or Redacted [C.E.L.], via email or reported to FBI directly. I am sorry for
             my fault and I am sorry for making troubles to others.




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5/18/2020                                                               Mail - Lampe, Stephen (KC) (FBI) - Outlook

            (2) For the contract of Franklin, I downloaded it from his email address. Last year, he asked me to write
            proposals to apply to Chinese government. The account and password for proposal submission are the
            same as his email in Fuzhou University. Sometimes I login his email address and check some information.

            (3) For his funding applications in Fuzhou University, I downloaded it from his proposal submission
            account, since last year when he asked me to write the proposal for him, he gave me the account and
            password. The proposal I wrote last year failed, he and other colleagues rewrote and submitted it again
            this year.

            (4) I communicated with
                                              Redacted [X.Z.]
                                                                sometimes last year, but I did not communicate with her this year.

            Others are correct information to the best of my knowledge. I will accept any penalty for my wrongdoings. I
            am sorry for that.
            I will be appreciated if you could stop checking the issues with Franklin. If the issues have to be continued
            and my answer have to be yes, then it is yes.

            Thank you very much.
            Best regards
            Redacted [Government Informant]




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